         Case 1:24-cv-04364-SCJ Document 8 Filed 10/02/24 Page 1 of 3




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

WILLIAM T. QUINN and DAVID CROSS,

              Plaintiffs,
                                                   Case 1:24-cv-04364-SCJ
v.

BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of Georgia,

              Defendant.


    PROPOSED INTERVENOR-DEFENDANTS GEORGIA STATE
  CONFERENCE OF THE NAACP; GEORGIA COALITION FOR THE
  PEOPLE’S AGENDA, INC.; AND LEAGUE OF WOMEN VOTERS OF
              GEORGIA MOTION TO INTERVENE

      COMES NOW GEORGIA STATE CONFERENCE OF THE NAACP;

GEORGIA COALITION FOR THE PEOPLE’S AGENDA, INC.; and LEAGUE

OF WOMEN VOTERS OF GEORGIA (“Proposed Intervenor-Defendants”), by and

through their undersigned counsel of record, and file this Motion to Intervene in the

above-referenced matter pursuant to Federal Rules of Civil Procedure 24(a) and (b).

      The basis for this motion is fully set forth in Proposed Intervenor-Defendants’

Brief in Support of Motion to Intervene. As required by Federal Rule of Civil

Procedure 24(c), Proposed Intervenor-Defendants accompany their Motion to

Intervene with a proposed Motion to Dismiss and brief in support as Exhibit 1.


                                         1
        Case 1:24-cv-04364-SCJ Document 8 Filed 10/02/24 Page 2 of 3




Respectfully submitted, this 2nd day of October, 2024.

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                                            forthcoming
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         Case 1:24-cv-04364-SCJ Document 8 Filed 10/02/24 Page 3 of 3




                      CERTIFICATE OF COMPLIANCE
      Pursuant to Local Rule 7.1, the undersigned counsel hereby certifies that this

document has been prepared with one of the font and point selections approved by

the Court in Local Rule 5.1.

      Dated this 2nd day of October 2024.

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                                         3
